
CAMPBELL, Acting Chief Judge.
Appellant, a juvenile, was convicted of possession of cocaine and grand theft auto. He was adjudicated delinquent and committed to the Department of HRS. He was placed on community control upon release.
Appellant challenges his conviction and resulting sentence. We find no merit in his arguments concerning his conviction. We do, however, find that the court erred when it sentenced him. We remand for resentencing in compliance with section 39.09(3)(e), Florida Statutes (1989), which requires that specific findings be made by the trial court to support its decision to adjudicate and commit appellant to HRS. No findings were made by the trial court here. We further remand for entry of separate sentences for appellant’s two offenses. A general sentence for separate offenses, such as he received, is prohibited. C.P. v. State, 543 So.2d 867 (Fla. 2d DCA 1989).
Affirmed, but remanded for resentenc-ing.
PARKER, J., and McDONALD, RANDALL G., Associate Judge, concur.
